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                                                                United States District Court
                                                                  Southern District of Texas

                                                                     ENTERED
                                                                   August 20, 2020
                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS              David J. Bradley, Clerk

                            HOUSTON DIVISION



CHG HOSPITAL HOUSTON LLC d/b/a §
CORNERSTONE SPECIALTY HOSPITALS §
BELLAIRE,                       §
                                §
               Plaintiff,       §
                                §
v.                              §          CIVIL ACTION NO. H-20-0718
                                §
BLUE CROSS BLUE SHIELD OF       §
TEXAS, A DIVISION OF HEALTH     §
CARE SERVICE CORPORATION,       §
                                §
               Defendant.       §


                     MEMORANDUM OPINION AND ORDER


     Plaintiff CHG Hospital Houston LLC d/b/a Cornerstone Specialty

Hospitals Bellaire     ("Plaintiff") sued defendant Blue Cross Blue

Shield of Texas, a Division of Health Care Service Corporation

("Defendant") in the 270th District Court of Harris County, Texas. 1

Defendant timely removed the action to this court. 2     Pending before

the court is Defendant's Motion to Compel Arbitration (Docket Entry

No. 14).     For the reasons explained below, Defendant's Motion to

Compel Arbitration will be granted.




     1
      Plaintiff's Original Petition and Request for Disclosure
("Original Petition"), Exhibit C to Defendant's Notice of Removal
("Notice of Removal"), Docket Entry No. 1-3, p. 5.       All page
numbers for docket entries in the record refer to the pagination
inserted at the top of the page by the court's electronic filing
system, CM/ECF.
     2
         Notice of Removal, Docket Entry No. 1, p. 1.
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                   I.    Factual and Procedural Background

       Plaintiff is a hospital participating in Defendant's HMO

insurance network.           The parties' relationship is embodied in their

Hospital Agreement for HMO Network Participation ("the Agreement"),

made       effective    on    April   1,   2014. 3    The    Agreement    contains

provisions      requiring      alternative       dispute    resolution   including

mediation and binding arbitration ("the Arbitration Clause")                  4
                                                                                  The

Arbitration Clause states:

       I. Dispute Resolution.      . In order to avoid the cost
       and time consuming nature of litigation, any dispute
       between HMO Blue and Hospital arising out of, relating
       to, involving the interpretation of, or in any other way
       pertaining to this Agreement or any prior Agreement
       between HMO Blue and Hospital shall be resolved using
       alternative dispute resolution mechanisms instead of
       litigation. HMO Blue and Hospital agree and acknowledge
       that it is their mutual intention that this provision be
       construed broadly so as to provide for mediation and/or
       arbitration of all disputes arising out of their
       relationship as third-party Payer and Hospital.      The
       parties further agree that resolution of any dispute
       pursuant to this Agreement shall be in accordance with
       the procedures detailed below.       5



       3. Binding Arbitration.       In the event mediation is
       not successful in resolving the dispute, either HMO Blue
       or Hospital may submit the dispute to final and binding
       arbitration under the commercial rules and regulations of




      Agreement, Exhibit A-1 to Defendant's
       3
                                                               Motion    to   Compel
Arbitration, Docket Entry No. 14-1, p. 6.
       4
           Id. at 19 Part X Section I.


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     the American Health Lawyers Association[.]

     f.     Hospital acknowledges that this arbitration
     provision precludes Hospital from filing an action at law
     or in equity and from having any dispute covered by this
     Agreement resolved by a judge or a jury.

     Plaintiff admitted and treated a patient ("the Insured") from

March 30, 2017, to August 27, 2018. 8        Defendant confirmed that the

Insured was covered by his policy with Defendant and pre-authorized

his admission. 9       The Insured was incapacitated and had no family

members in the country to assist him. 10       During his long admission,

Plaintiff paid the Insured's insurance premiums to prevent a lapse

in his coverage. 11       Defendant accepted the payments and confirmed

coverage on June 14, 2017. 12

     On February 13, 2018, however,          Defendant advised Plaintiff

that coverage had terminated on May 31, 2017. 13       Defendant contends

that Plaintiff, a healthcare provider, was not permitted to pay the

Insured's premiums under the terms of his policy and Defendant's

     6
         Id. at 20 Part X Section I(3)
     7
         Id. at 20 Part X Section I(3) (f)
     8
      Original Petition, Exhibit C to Defendant's Notice of Removal
("Notice of Removal"), Docket Entry No. 1-3, p. 7 110.


     10
          Id. at 7     112.


     12
          Id. at 7   1112-13
     13
          Id. at 7-8     114.
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Provider Manual. 14         Defendant returned the premium payments that

Plaintiff had submitted and began denying claims for the Insured

and     recouping        money    paid     for     services   provided   after    the

termination of coverage. 15               Plaintiff alleges that Defendant has

accordingly underpaid Plaintiff for the Insured's expenses by more

than $574,000. 16

      On January 27, 2020, Plaintiff filed its Original Petition in

state        court   asserting     claims     of    negligent   misrepresentation,

promissory estoppel,             breach of contract, and violations of the

Texas        Insurance    Code,     and    seeking     a   declaratory   judgment . 17

Defendant removed the action to this court on the basis of

diversity jurisdiction on February 28, 2020. 18                  On April 8, 2020,

Defendant filed its Motion to Compel Arbitration contending that

this action must be dismissed because an enforceable arbitration



      See Blue Essentials, Blue Advantage HMO and Blue Premier
        14

Provider Manual - Roles and Responsibilities, Exhibit A-2 to
Defendant's Motion to Compel Arbitration, Docket Entry No. 14-1,
p. 64; Letter Regarding Cornerstone Specialty Hospitals Bellaire
Dated November 25, 2019, Exhibit A-4 to Defendant's Motion to
Compel Arbitration, Docket Entry No. 14-1, pp. 69-71.

      Original Petition, Exhibit C to Defendant's Notice of Removal
        15

("Notice of Removal"), Docket Entry No. 1-3, pp. 7-8 � 14, 8 � 15.
        16
             Id. at 8 � 17.
     17 Original Petition, Exhibit C to Defendant's                      Notice    of
Removal, Docket Entry No. 1-3, pp. 5, 8-13
        18
             Notice of Removal, Docket Entry No. 1, pp. 1-2.
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agreement exists between the parties. 19           Plaintiff responded on

April 28, 2020, 20 and Defendant replied on May 15, 2 020.21 Plaintiff

filed a sur-reply on May 19, 2020.22


                           II.    Legal Standard

        The Federal Arbitration Act ("FAA"), 9 U.S.C. §§ 1, et seq.,

creates "a body of federal substantive law of arbitrability,

applicable to any arbitration agreement within the coverage of the

Act."        Moses H. Cone Memorial Hospital v. Mercury Construction

Corp., 103 S. Ct. 927, 941 (1983).          "[W)hen a court interprets []

provisions in an agreement covered by the FAA, 'due regard must be

given to the federal policy favoring arbitration, and ambiguities

as to the scope of the arbitration clause itself resolved in favor

of arbitration.'" Mastrobuono v. Shearson Lehman Hutton, Inc., 115

S. Ct. 1212, 1218 (1995) (quoting Volt Information Sciences, Inc.

v. Board of Trustees of Leland Stanford Junior University,                109

S. Ct. 1248, 1254 (1989))

        Section 2 of the     FAA states that a written arbitration


      Defendant's
        19
                       Motion    to   Compel   Arbitration,   Docket    Entry
No. 14, pp. 1-2.

      Plaintiff's Response in Opposition to Defendant's Motion to
        20

Compel Arbitration ("Plaintiff's Response"), Docket Entry No. 15.
      Defendant's Reply in Support of Its Motion to
        21
                                                                       Compel
Arbitration ("Defendant's Reply"), Docket Entry No. 20.
      Plaintiff's Sur-Reply to Defendant's Reply in Support of Its
        22

Motion to Compel Arbitration ("Plaintiff's Sur-Reply"), Docket
Entry No. 23.

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agreement in any contract involving interstate commerce is valid,

irrevocable, and enforceable except on grounds that would permit

the revocation of a contract in law or equity.            9   u.s.c. §    2.

Section 3 of the FAA requires federal courts, on a party's motion,

to stay litigation of claims subject to arbitration. 9 U.S.C. § 3.

Section 4 of the FAA permits a party to seek an order compelling

arbitration if the other party has failed to arbitrate under a

written agreement.    9 U.S.C. § 4.      Courts apply a two-step inquiry

when ruling on a motion       to compel arbitration.          Edwards v.

Doordash, Inc., 888 F.3d 738,      743    (5th Cir. 2018)     "First,    the

court asks whether there is a valid agreement to arbitrate and,

second, whether the current dispute falls within the scope of a

valid agreement."     Id.   If the party seeking arbitration argues

that there is a delegation clause, however,         "the only question,

after a finding that there is in fact a valid agreement, is whether

the purported delegation clause is in fact a delegation clause."

Kubala v. Supreme Production Services, Inc.,         830 F.3d 199,       202

(5th Cir. 2016).     "If there is a delegation clause, the motion to

compel arbitration should be granted in almost all cases."          Id.


                            III.   Analysis

     Plaintiff does not dispute the existence of the Agreement or

the validity of the Arbitration Clause.        Plaintiff argues (1) that

its claims do not fall within the scope of the Arbitration Clause

in the Agreement and (2) that the FAA does not apply where it would

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impair claims based on state insurance law.23                Defendant argues that

the court may not decide whether the action falls within the scope

of the Arbitration Clause because it incorporates the Commercial

Rules of the American Health Lawyers Association ("AHLA Rules"),

which provide that the arbitrator should decide that issue.24


A.     The FAA May Apply to Plaintiff's Texas Insurance Code Claim

       Plaintiff contends that enforcement of the Arbitration Clause

as to its Texas Insurance Code claim under the FAA would violate

15 U.S.C. § 1012.          Under that statute, "[n]o Act of Congress shall

be construed to invalidate, impair, or supersede any law enacted by

any State for the purpose of regulating the business of insurance

            unless such Act specifically relates to the business of

insurance."           15   u.s.c.   §    1012.        Plaintiff    argues    that   the

application of the FAA to compel arbitration would impair§ 541.152

of    the     Texas    Insurance        Code's    provision       for   a   successful

plaintiff's recovery of attorney's fees because the Arbitration
Clause prohibits an award of attorney's fees. 25

       This argument lacks merit because the Arbitration Clause does

not prohibit all awards of attorney's fees.                 The provision cited by

Plaintiff       states:      "The   costs        of   arbitration,      including   the

arbitrator's fee and any reporting or other costs, but excluding


       23
            Plaintiff's Response, Docket Entry No. 15, pp. 7-8.
       24
            Defendant's Reply, Docket Entry No. 20, p. 5.
       25
            Plaintiff's Response, Docket Entry No. 15, pp. 17-18.

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lawyers',    consultants' and witness fees,       shall be borne by the

non-prevailing party unless the arbitrator determines as part of

the award that such allocation is inequitable under the totality of

the circumstances." 26    The plain language of this provision merely

assigns the "costs of arbitration" to the non-prevailing party and

states that attorney's fees are not among those costs.                This

provision does not prohibit the arbitrator from awarding attorney's

fees when a party prevails on a claim that entitles them to such an

award, such as under § 541.152.

     Moreover, the Agreement contains a severability clause that

states that "[i)f for any reason any provision of this Agreement is

held invalid, the remaining provisions shall remain in full force

and effect." 27     An arbitration agreement that waives statutory

substantive rights and remedies is generally unenforceable. See In

re Poly-America, L.P., 262 S.W.3d 337, 349 (Tex. 2008).           If the

Arbitration Clause's provision for costs prevents recovery of

attorney's fees under § 541.152 of the Texas Insurance Code, it

could be severed from the Agreement.          See Venture Cotton Co-op v.

Freeman,     435 S.W.3d 222,   229-230   (Tex. 2014)    (holding that an

arbitration      agreement's   waiver    of    substantive   rights    was

unenforceable but severable); Parrot v. D.C.G., Inc., Civil Action

No. 3:19-CV-1718-N, 2020 WL 1876096, at *4-5 (N.D. Tex. Apr. 14,


      Agreement, Exhibit A-1 to Defendant's Motion to Compel
     26

Arbitration, Docket Entry No. 14-1, p. 20 Part X Section I (3) (d).
     27   Id. at 21 Part P.

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2020)     (severing    an   arbitration      agreement's    attorney's   fees

provision that contravened a statutory attorney's fees remedy but

otherwise enforcing it).         Enforcement of the Arbitration Clause

under the       FAA therefore does not require the enforcement of

provisions contrary to the           Texas   Insurance     Code.    The court

concludes that enforcement of the Arbitration Clause under the FAA

would not "supersede, invalidate, or impair" Plaintiff's right to

attorney's fees under § 541.152, and accordingly 15 U.S.C. § 1012

does not apply.


B.      The Agreement Delegates the Scope of Arbitration to the
        Arbitrator

        Plaintiff argues that its claims are not within the scope of

the Arbitration Clause.         The court may only consider Plaintiff's

arguments as to the scope of the Arbitration Clause if the parties

have not delegated the issue to an arbitrator.              The Supreme Court

has explained that there are three types of disagreements in the

arbitration context:         (1) the merits of the dispute;        (2) whether

the merits are arbitrable; and (3) who decides the second question.

First Options of Chicago, Inc. v. Kaplan, 115 S. Ct. 1920, 1923

(1995).       The third question turns on what the parties have agreed

to.     Id.    The court decides arbitrability unless the parties have

"clearly and unmistakably" agreed to submit it to the arbitrator.

Crawford Professional Drugs, Inc. v. CVS Caremark Corp., 748 F.3d

249,    262    (5th Cir.    2014).    An agreement may demonstrate the


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parties' intent to delegate arbitrability if it incorporates by

reference a body of arbitral rules that authorize the arbitrator to

decide issues of the arbitration agreement's existence, scope, or

validity. Petrofac, Inc. v. DynMcDermott Petroleum Operations Co.,

687 F.3d 671,          675    (5th Cir. 2012).         Whether such a reference

clearly and unmistakably shows an intent to delegate the issue

depends on the language of the contract.                  Archer and White Sales,

Inc. v. Henry Schein, Inc., 935 F.3d 274, 281-82 (5th Cir. 2019).

      There is no dispute that the Agreement incorporates the AHLA

Rules by reference and that those rules authorize the arbitrator to

determine whether the claims asserted by the parties fall under the

arbitration      agreement. 28          Plaintiff   argues,      however,    that   an

agreement's incorporation of arbitral rules by reference only shows

clear and unmistakable intent to delegate the issue if all possible

disputes are governed by the arbitration agreement.29                       Plaintiff

contends that the Agreement's incorporation of the AHLA Rules does

not conclusively show an intent to delegate arbitrability because

the   Agreement        excepts    certain      disputes    and    issues    from    the

Arbitration Clause.30

      In     Archer     and    White,    the   Fifth    Circuit    stated    that    an


      Defendant's Reply, Docket Entry No. 20, p. 7; see Plaintiff's
      28

Sur-Reply, Docket Entry No. 23, pp. 1-5 (challenging neither the
substance nor applicability of the AHLA Rules)
      29
           Plaintiff's Sur-Reply, Docket Entry No. 23, p. 2.
      30
           Id. at 4.

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agreement that exempts certain disputes from arbitration does not

clearly and unmistakably delegate arbitrability to the arbitrator

for disputes that fall within the exception.                        935 F.3d at 281-82.

The    arbitrability         of    disputes    that     do    not        fall    within   the

exception, however, are still delegated.                     Id.

        The     Arbitration        Clause    states   that         it    applies    to    "any

dispute," the only exceptions being (1) legal proceedings brought

by third parties against either Plaintiff or Defendant, (2) the

rate of compensation payable under the Agreement, and (3) the

termination of the Agreement.31                None of these exceptions apply.

This action was brought by Plaintiff against Defendant, and there

is no dispute as to the rate of compensation or a termination of

the Agreement.        Accordingly, the Agreement's incorporation of the

AHLA Rules shows the parties' clear and unmistakable intent to

delegate arbitrability of the disputes in this action.

        Plaintiff also cites decisions by Texas appellate courts as

authority for its argument that the dispute need not fall within an

exception.32         But these decisions are distinguishable because they

turn on the specific language of the arbitral agreement at issue.

In     Lucchese      Boot         Co.   v.    Solano,        473        S.W.3d     404,    414

(Tex. App.-El         Paso    2015,     no pet.),       the court concluded that

incorporation of rules by reference that delegated arbitrability


      Agreement, Exhibit A-1 to Defendant's Motion to Compel
        31

Arbitration, Docket Entry No. 14-1, p. 19 Part X Section I, p. 20
Part X Section I(4).
        32
             Plaintiff's Sur-Reply, Docket Entry No 23, pp. 3-4.
                                             -11-
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did not control where "the agreement's plain language purport[ed)

to restrict the arbitrator's power to hear only certain classes of

disputes."      The agreement in Lucchese did not assign all disputes

to arbitration subject to exceptions; it listed specific disputes

subject to arbitration.       Id. at 410-411.       In this action, however,

the parties' Arbitration Clause states that "any dispute

shall be resolved using alternative dispute resolution mechanisms

instead    of   litigation"   and   that   "this     arbitration   provision

precludes Hospital from filing an action at law or in equity and

from having any dispute covered by this Agreement" before listing

a narrow set of exceptions. 33 Lucchese's holding involving a narrow

arbitration agreement is therefore not applicable.                 Burlington

Resources Oil &      Gas Co. LP v. San Juan Basin Royalty Trust,

249 S.W.3d 34,      41   (Tex. App.-Houston     [1st Dist.]     2007,   pet.

denied), is distinguishable for the same reason.

     In Haddock v. Quinn, 287 S.W.3d 158, 174-75 (Tex. App.-Fort

Worth 2009, pet. denied), the arbitration agreement prescribed in

detail the procedure and scope of arbitration and only incorporated

external arbitral rules "to the extent not inconsistent" with its

provisions. The arbitration agreement was also executed before the

relevant     arbitral    rules    contained     a    rule   that    delegated

arbitrability.      Id. at 175.     And in BossCorp, Inc. v. Donegal,
Inc., 370 S.W.3d 68, 76 (Tex. App.-Houston [14th Dist.] 2012, no



      Agreement, Exhibit A-1 to Defendant's Motion to Compel
     33

Arbitration, Docket Entry No. 14-1, p. 19 Part X Section I, p. 20
Part X Sections I (3) (f), I (4).

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pet.), the dispute before the court fell within exceptions to the

arbitration agreement.

       Moreover, to the extent that these decisions may contradict

Fifth Circuit precedent,         the court must follow       Fifth Circuit

precedent.      The court is bound by Archer and White, under which

disputes not subject to an exception in an arbitration clause are

clearly and unmistakably delegated if the agreement incorporates of

arbitral rules providing such.               The court concludes that the

Agreement demonstrates the parties' clear and unmistakable intent

to submit the arbitrability of disputes in this action to an

arbitrator.         The court must therefore enforce the arbitration

agreement so that an arbitrator may decide whether Plaintiff's

claims fall within the scope of the Arbitration Clause.


C.      The Court Will Dismiss the Action

        For the reasons explained above,         the court concludes that

Defendant     may    enforce   the    arbitration    agreement    and   compel

arbitration of Plaintiff's claims so that an arbitrator may at

least decide the scope of the arbitration agreement.                When all

issues before the court must be submitted to an arbitrator, the

court has discretion to dismiss the action.           Alford v. Dean Witter

Reynolds, Inc., 975 F.2d 1161, 1164            (5th Cir. 1992).     Plaintiff

argues that the court should stay rather than dismiss the action

because      dismissal    is   only    appropriate    if   all    claims   are




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arbitrable. 34      Because the court has concluded that the Agreement

requires an arbitrator to determine the arbitrability of all of

Plaintiff's claims,        the court will dismiss the action without

prejudice.


                          IV.   Conclusion and Order

        For the reasons explained above, the court concludes that an

agreement to arbitrate claims between the parties exists and that

the parties have delegated the issue of whether the claims fall

under the scope of the arbitration clause to an arbitrator.

Accordingly,         Defendant's Motion to Compel Arbitration        (Docket

Entry No. 14) is GRANTED, and this action will be dismissed without

prejudice.

        SIGNED at Houston,      Texas,    on this the 20th day of August,

2020.




                                                       SIM LAKE
                                          SENIOR UNITED STATES DISTRICT JUDGE




        34
             Plaintiff's Response, Docket Entry No. 15, p. 18.
                                         -14-
